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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL ACTION



VERSUS                                                  NO: 13-66



WALTER PORTER                                           SECTION: R

                          ORDER AND REASONS

       Defendant Walter Porter moves the Court to continue trial in Criminal

Action Number 13-66. Because the ends of justice require a continuance, the

Court GRANTS the motion.



I.     BACKGROUND

       Walter Porter presently faces federal criminal charges in three cases.1

In Criminal Action Number 12-001, Porter is charged with RICO conspiracy,

obstruction of justice, attempted murder, murder, and various firearm

violations.   In Criminal Action Number 12-198, Porter is charged with

conspiracy to commit two armed bank robberies, commission of both

robberies, use of a firearm in connection with both crimes, and conspiracy to


       1
        Porter is charged in Criminal Action Number 12-001 before Judge Feldman, and
in Criminal Action Numbers 12-198 and 13-66 before this Court.
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commit money laundering. Finally, in this case, Criminal Action Number

13-66, Porter is charged with conspiracy to use and use of interstate commerce

facilities in the commission of murder-for-hire in addition to firearm

violations. Porter has been represented by a total of six different attorneys in

connection with these cases. Nonetheless, his current defense team of Robert

Toale and Steven Lemoine has only been in place since August 28, 2015, when

Lemoine was appointed to replace Porter's former attorney, Michele Fournet.

      On September 17, 2015, the Court ruled that Porter is competent to stand

trial. Initially, the bank robbery case, Criminal Action Number 12-198, was

scheduled to go to trial first, on November 2, 2015. But on October 21, 2015,

the Court granted Porter's motion to continue trial and pre-trial dates, finding

that the ends of justice required recently-appointed attorney Lemoine

additional time to prepare for trial in that case. This left the murder-for-hire

case, Criminal Action 13-66, first in line, with a jury trial scheduled to

commence on December 7, 2015.

      On November 30, 2015, Porter moved the court to continue pre-trial

dates and trial in the murder-for-hire case, Criminal Action Number 13-66, on

the grounds that attorney Lemoine had recently fallen ill and is unable to




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participate effectively in a December 7, 2015 trial.2 Porter notes that until the

Court's October 21, 2015 order continuing trial and pre-trial dates in Criminal

Action Number 12-198, much of his attorneys' efforts were devoted to

preparing for that trial, leaving them with less time to prepare for Criminal

Action Number 13-66.3 He contends that given the short time frame, as well

as the large number of charges, issues, and witnesses involved in the murder-

for-hire case, attorneys Toale and Lemoine have necessarily engaged in a

division of labor.4 Consequently, Toale is relatively unfamiliar with issues that

have been handled primarily by his co-counsel and is unable to prepare

adequately for those issues in the one week that remains before Criminal

Action 13-66 is scheduled for trial.5 Thus, Porter argues that requiring him to

proceed to trial on December 7, 2015 will cause him severe prejudice and that

the ends of justice require a continuance.6




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        R. Doc. 320. Porter has filed an affidavit by Lemoine, which indicates that
Lemoine was diagnosed with pneumonia on November 30, 2015. Porter has also filed a
doctor's note, which states that Lemoine will be unable to work at full capacity for a
period of seven to ten days.
      3
          R. Doc. 320-2 at 2.
      4
          Id.
      5
          Id.
      6
          Id.

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II.     DISCUSSION

        The Speedy Trial Act requires a defendant's trial to commence within

seventy days of the indictment or when the defendant first appears before the

court, whichever is later. 18 U.S.C. § 3161. Certain actions, however, toll the

seventy-day clock. United States v. Parker, 505 F.3d 323, 326 (5th Cir. 2007).

As relevant here, "the grant of a continuance on the basis of the court's finding

that the ends of justice served by taking such action outweigh the best interest

of the public and the defendant in a speedy trial" delays the period within

which trial must commence. United States v. Hale, 685 F.3d 522, 531 (5th Cir.

2012) (quoting 18 U.S.C. § 3161(h)(7)). In determining whether to grant an

"ends of justice" continuance, a court must consider "[w]hether the failure to

grant such a continuance . . . would deny counsel for the defendant . . . the

reasonable time necessary for effective preparation, taking into account the

exercise of due diligence." 18 U.S.C. § 3161(h)(7)(B); see also United States v.

Jackson, 50 F.3d 1335, 1339 (5th Cir. 1995) (noting that when new counsel is

appointed, the district court has discretion "to grant a continuance for trial

preparation if it determines that the ends of justice so require" (citing United

States v. Rojas–Contreras, 474 U.S. 231, 236, 106 S.Ct. 555, 88 L.Ed.2d 537

(1985))).

        Given the unique circumstances of this case, the Court finds that the

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ends of justice require a continuance. Porter faces a number of serious charges

in three separate cases in the Eastern District of Louisiana. Porter was not

deemed competent to stand trial in these cases until September 17, 2015, and

his current two-attorney team has only been in place since August 28, 2015.

Moreover, until October 21, 2015, trial in the bank robbery case, Criminal

Action Number 12-198, was scheduled first. The need to prepare for that trial

reduced the amount of time that Porter's attorneys had to devote to this case,

Criminal Action 13-66. To ensure full preparation, attorneys Toale and

Lemoine divided issues and witnesses amongst themselves, thereby increasing

the amount of ground they could cover, but reducing each attorney's

familiarity with work done by the other. An unexpected pneumonia diagnosis

now leaves Lemoine unable to participate in trial, which is scheduled to

commence in a mere six days. This leaves Porter's remaining attorney too

little time to prepare adequately to defend against the Government's

allegations.

      For these reasons, the Court concludes that a continuance is required to

ensure that Porter receives effective representation in the murder-for-hire

trial. The Court further finds that the resulting delay is reasonable under the

circumstances of this case, and that the ends of justice served by a continuance

outweigh the interest of the public and the defendant in a speedy trial.

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III. CONCLUSION

      For the foregoing reasons, THE COURT SPECIFICALLY FINDS,

pursuant to Title 18, United States Code, Section 3161(h)(7)(A), the ends of

justice served by granting the requested continuance outweigh the best

interest of the public and the defendant in a speedy trial.

      THE COURT FURTHER SPECIFICALLY FINDS, pursuant to Title 18,

United States Code, Section 3161(h)(7)(B)(iv), that the failure to grant such

continuance would deny counsel the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.

      THE COURT FURTHER SPECIFICALLY FINDS, pursuant to Title 18,

United States Code, Section 3161(h)(7)(B)(I), that failure to grant the

requested continuance in this case could result in a miscarriage of justice.

      ACCORDINGLY, IT IS HEREBY ORDERED that the trial presently set

for December 7, 2015 is continued. IT IS FURTHER ORDERED that all

counsel shall appear on December 16, 2015 at 3:00 p.m. to establish a

new trial date.

      In addition, IT IS ORDERED THAT the deadlines for responses

to all pending motions are extended by one week from the dates set

forth in the Court's November 23, 2015 trial preparation order. Otherwise,

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motions practice is now closed with respect to motions in limine, Daubert

motions, and motions to suppress. No further motions shall be entertained.



     New Orleans, Louisiana, this ___
                                   1st day of December, 2015.



              ________________________________
                        SARAH S. VANCE
                 UNITED STATES DISTRICT JUDGE




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